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                         EXPERT REPORT
                               OF
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           Kelsey Cascadia Rose Juliana; Xiuhtezcatl Tonatiuh M.,
            through his Guardian Tamara Roske-Martinez; et al.,
                                 Plaintiffs,

                                        v.

                 The United States of America; Donald Trump,
        in his official capacity as President of the United States; et al.,
                                   Defendants.

               IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON

                        (Case No.: 6:15-cv-01517-TC)




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                    TABLE OF ACRONYMS AND ABBREVIATIONS


BAU:        business as usual
CCS:        carbon capture and sequestration
coal-CCS:   coal with carbon capture and sequestration
CO2:        carbon dioxide
CSP:        concentrated solar power
DOE:        United States Department of Energy
EIA:        United States Energy Information Administration
EPA:        United States Environmental Protection Agency
HVAC:       heating, ventilation and air conditioning
HVDC:       high-voltage direct-current
IPCC:       United Nations Intergovernmental Panel on Climate Change
kW:         kilowatt (measure of electric power)
kWh:        kilowatt hour
MW:         megawatt (measure of electric power)
OTA:        United States Congress, Office of Technology Assessment
ppm:        parts per million
ppmv:       parts per million by volume
PV:         photovoltaic
R&D:        research and development
RE:         renewable energy
UNFCCC:     United Nations Framework Convention on Climate Change
WWS:        wind, water, and sunlight




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                                       INTRODUCTION

I, Mark Jacobson, have been retained by Plaintiffs in the above-captioned matter to provide
expert testimony about the feasibility of transitioning the United States of America to 100%
clean and renewable energy in all energy sectors by mid-century, including whether this
transition would remedy the constitutional violations alleged in the First Amended Complaint in
this case. All energy sectors include electricity, transportation, heating/cooling, and industry.


                                      QUALIFICATIONS

Since 1989, I have been researching academically and professionally, the impacts of human
emissions of gases (including carbon dioxide and other greenhouse gases) and particles
(including black carbon) on air pollution, human health, weather, and climate. Starting in 1999, I
began examining in detail clean, renewable energy solutions to these problems. In 2015, this
research culminated in the development of roadmaps to transition the all-sector energy
infrastructures of each of the 50 United States to 100% clean, renewable energy by 2050
(Jacobson et al., 2015a, which includes a link to the spreadsheets used to derive all numbers in
the paper). The research has also resulted in the development of 100% clean, renewable energy
roadmaps for 139 countries of the world (Jacobson et al., 2017a, which also includes a link to
spreadsheets) and electric power grid stability analyses for the 48 contiguous United States
(Jacobson et al., 2015b) and for 20 world regions containing the 139 countries examined
(Jacobson et al., 2018) after those states and countries have converted to 100% clean, renewable
energy. I carried out this research, analysis, and clean, renewable energy roadmap development
primarily with Dr. Mark Delucchi at U.C. Berkeley, but also along with several other experts.
The purpose of this report is to summarize the portion of this research related to the United
States and its major conclusions and implications on the feasibility of transitioning the country
swiftly off of fossil fuels to clean and renewable energy in all sectors by mid-century.

The opinions expressed in this report are my own and are based on the data and facts available to
me at the time of writing. All opinions expressed herein are to a reasonable degree of scientific
certainty, unless otherwise specifically stated. Should additional relevant or pertinent information
become available, I reserve the right to supplement the discussion and findings in this expert
report in this action.

My full CV, including a list of publications I authored within the last ten years, is attached as
Exhibit A to my report. My report contains a list of citations to the principal documents that I
have used or considered in forming my opinions, listed in Exhibit B. Exhibit C contains a
summary of my previous expert testimony. Exhibit D is a chart summarizing other
decarbonization studies of which I am aware. I also attach, as Exhibits E-H, my central papers
discussed herein.

In preparing my expert report and testifying at trial, I am deferring my expert witness fees to the
charged plaintiffs given the financial circumstances of these young plaintiffs. If a party seeks
discovery under Federal Rule 26(b), I will charge my reasonable fee of $200 per hour for the
time spent in addressing that party’s discovery.




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                                  EXECUTIVE SUMMARY

In this report, I summarize research, conclusions, and implications of studies that I and my
colleagues previously performed to develop 100% clean, renewable all-sector (electricity,
transportation, heating/cooling, industry) roadmaps (plans) for the 50 United States (Jacobson et
al., 2015a) and to analyze resulting electric grid stability for the 48 contiguous United States
(Jacobson et al., 2015b). I also rely on our updated peer-reviewed research on an energy roadmap
for the United States as a whole (Jacobson et al., 2017a) and a grid stability study for the United
States plus Canada combined (Jacobson et al., 2018). I set forth a substantive discussion of
numbers from the 50-state roadmaps in Jacobson et al. (2015a) where the numbers are set forth
both on a state specific basis and for the U.S. as a whole. However, the U.S.–as-a-whole numbers
were updated in Jacobson et al. (2017a) based on updated cost, efficiencies, and other data.
Jacobson et al. (2017a) does not have an in-depth discussion of those data simply because the
2015a study provides state-by-state breakdowns as well. Nevertheless, both studies provide a
consistent conclusion. Namely, I conclude in both studies that it is both technically and
economically feasible to transition from a predominantly fossil fuel-based energy system to a
100% clean, renewable energy system for all energy sectors by 2050, with about 80% conversion
by 2030, even after taking into account the U.S. Department of Energy’s (DOE’s) Energy
Information Administration’s (EIA’s) energy demand forecasting and taking into account
efficiencies resulting from the transition from fossil fuels to clean, renewable energy.

Presently, fossil fuels supply more than 80% of our all-purpose energy in the United States, not
out of necessity, but because of political preference and historic government support that led to
the development and maintenance of a widespread fossil-fuel infrastructure. Our plans provide
state-by-state roadmaps to replace 80% of existing fossil fuel energy by 2030 and 100% by 2050.
The main concept is to electrify all energy sectors with existing or near-existing technologies,
and then to generate the electricity for all sectors with 100% wind, water, and sunlight (WWS),
namely onshore wind, offshore wind, utility-scale photovoltaics (PV), rooftop PV, concentrated
solar power (CSP) with storage, geothermal power, wave power, tidal power, and hydroelectric
power. A 100% WWS system would also require electricity storage, heat storage, cold storage,
and some hydrogen storage along with an expanded transmission and distribution system.

First, based on our 2015 study (Jacobson et al., 2015a), converting to 100% WWS would reduce
the U.S.-average end-use power demand by a mean of ~39.3%. Approximately 82.4% of the
reduced power demand is due to a) the higher work output to energy input of electricity
compared with fossil-fuels (burning fossil fuels to move vehicles results in much more waste
heat than using electricity), and b) eliminating the energy needed to mine, transport, and refine
fossil fuels and uranium (because wind and solar energy, for example, come right to the wind
turbine or solar panel, respectively). The rest of the reduction in power demand is due to end-use
energy efficiency and conservation improvements beyond those expected in a business-as-usual
(BAU) case.

Second, averaged over the United States, our roadmaps propose that all-purpose U.S. energy in
2050 could be met with ~30.9% onshore wind, ~19.1% offshore wind, ~30.7% utility-scale
photovoltaics (PV), ~7.2% rooftop PV, ~7.3% concentrated solar power (CSP) with storage,
~1.25% geothermal power, ~0.37% wave power, ~0.14% tidal power, and ~3.01% hydroelectric




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power (where virtually all hydroelectric dams exist already). This is only one of many possible
mixes. We have run our model with other mixes as well to demonstrate that a 100% WWS
system by 2050 is feasible (e.g., Jacobson et al., 2017a).

Third, over all 50 states, converting from fossil fuel energy to WWS would provide an estimated
3.9 million 40-year full-time construction jobs and about 2.0 million 40-year full-time operation
jobs for the energy facilities alone.

Fourth, converting from fossil fuel energy to WWS would also eliminate ~62,000 (19,000-
115,000) U.S. air pollution premature mortalities per year today and ~46,000 (12,000-104,000)
per year in 2050, avoiding ~$600 ($85-$2,400) billion per year (2013 dollars) in 2050, based on
statistical cost of life as defined by the U.S. government, equivalent to ~3.6 (0.5-14.3) percent of
the 2014 U.S. gross domestic product.

Fifth, converting from fossil fuel energy to 100% WWS would further eliminate ~$3.3 (1.9-7.1)
trillion per year in 2050 global warming costs to the world due to U.S. emissions.

Sixth, these plans will result in each person in the U.S. in 2050 saving ~$260 (190-320) per year
in energy costs ($2013 dollars) and U.S. health and global climate costs per person decreasing by
~$1,500 (210-6,000) per year and ~$8,300 (4,700-17,600) per year, respectively.

Seventh, the new footprint over land required to implement our plan would be ~0.42% of U.S.
land. The spacing area between wind turbines, which can be used for multiple purposes, will be
~1.6% of U.S. land area. 0.42% of U.S. land is equivalent to ~14,800 square miles. For
comparison, an upper bound of ~75,000 square miles of land (2.1% of U.S. land area) may have
been used to date for roads, well pads, and storage facilities for the 2.5 million inactive and 1.7
million active oil and gas wells alone in the United States to date (Fracktracker Alliance, 2015).
Pennsylvania alone has ~560,000 abandoned oil and gas wells (Pennsylvania Department of
Environmental Protection, 2016). 20,000 new oil and gas wells are drilled in the United States
every year. Allred et al. (2015) estimate that the area taken up by well pads, roads, and storage
facilities for natural gas wells sum to 0.0178 square mile per well. Extrapolating this estimate to
oil wells and to all abandoned plus active oil and gas wells in the U.S. gives the 75,000 mi2
estimate. While this is an upper bound for oil and gas wells, coal and oil extraction has required
additional land as have oil and gas pipelines, oil refineries, gas stations, power plants, and other
oil, gas, and coal infrastructure, which will become obsolete upon the transition to 100% clean
and renewable energy.

Eighth, the state-by-state roadmaps have been calculated to keep the 48 contiguous state U.S. grid
stable at low cost in two separate peer-reviewed studies under multiple storage scenarios (Jacobson
et al., 2015b; Jacobson et al., 2018). In the latter study, grid stability over the U.S. and Canada
combined were found under three different scenarios, including two with no added hydropower
turbines and one with added hydropower turbines.

In other words, the roadmaps will keep the lights on. Power supply will continue to match demand
as it currently does, every minute of every day. Although the wind doesn’t always blow and the
sun doesn’t always shine, it is possible to match power demand during those periods at a given




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location by using stored energy, shifting the time of peak demand for energy with financial
incentives (demand response), and by adding some long-distance transmission to connect wind
and solar in remote locations to cities. In our studies, storage is in the form of heat (in water, rocks,
and thermal mass); cold (in ice and water); electricity (in concentrated solar power (CSP) with
storage, batteries, pumped hydropower systems, and existing hydropower dams); and hydrogen
(for use in transportation). In our studies, we have found that the grid can stay stable with no coal,
natural gas, oil, biofuels, or nuclear power. The resulting 2050-2055 U.S. electricity social cost
(energy cost plus health cost plus climate cost) for a full system is much less than for current
energy sources, and the energy cost alone is similar or less.

In sum, conversions of the energy infrastructure of the United States to 100% wind, water, and
sunlight for all purposes is technically and economically feasible at low cost and high benefit.
Based upon my review of the available information and pertinent literature identified herein, as
well as my many years of experience as described herein, I conclude that a transition to 100%
clean, renewable energy by mid-century would stop the affirmative government infringement of
the youths’ constitutional rights as described in the First Amended Complaint, and even though
not all of the harm caused by historic emissions would be remediated, it would put the nation on
the correct path toward climate stabilization.


                                        EXPERT OPINION

1.        Technological and Economic Feasibility of Converting 100% of Our Energy From
          Fossil Fuels to Clean, Renewable Energy For All Sectors by 2050 and 80% by 2030.

Our research suggests that it is technologically and economically possible to electrify fully the
energy infrastructures of all 50 United States and provide that electricity with 100% clean,
renewable wind, water, and sunlight (WWS) at low cost, if the transition is commenced
immediately (Jacobson et al., 2015a; 2017a). Whereas, a 100% transformation is technically and
economically possible by 2030, we believe that, for social and political reasons, a more practical
expectation to transition all sectors (electricity, transportation, heating/cooling, industry) is 80%
by 2030 and 100% by 2050. These conclusions are based upon the assumption that the transition
commences immediately. Our research further finds that the U.S. electric power grid with 100%
WWS can stay stable at low cost (similar or less than today’s direct energy cost and much less
than today’s social cost, which includes energy, health, and climate costs) because electrifying
transportation and heating creates more flexible loads, allowing grid operators to shift times of
peak demand more readily (Jacobson et al., 2015b; 2018). Further, flexible loads allow low-cost
storage options for heat and cold to be used to displace electricity demand and store excess
electricity rather than wasting it.

The methodology for this research, outlined in detail in Jacobson et al. (2015a,b) and updated in
Jacobson et al. (2017a; 2018), is as follows:

     1)     For each of the 50 states, we start with contemporary business-as-usual (BAU) end-use
            power demand by fuel type in the residential, commercial, transportation, and
            industrial sectors.




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    2)     We use U.S. Department of Energy (DOE) Energy Information Administration (EIA)
           data and other data to project BAU end-use power demand by fuel type to 2050.
    3)     We electrify end-use demand in 2050 by fuel type in each sector, for each state. For
           some sectors, electricity is used to produce hydrogen.
    4)     We specify a mix of WWS electric power generators to meet the end-use electric
           demand in each state. The mix is limited and optimized by the technical potentials of
           each WWS resource in each state.
    5)     We calculate the required footprint and spacing area required for the WWS
           technologies.
    6)     We calculate the cost of constructing the WWS infrastructure for each state, including
           necessary upgrades to national electricity transmission infrastructure.
    7)     We calculate the number of long-term, full-time construction and operation jobs
           required for the generators and the corresponding number of jobs lost in the BAU
           energy sectors, primarily in the fossil fuel industry.
    8)     We calculate the air pollution mortality and morbidity reduction and corresponding
           health cost reduction due to transitioning from BAU to WWS.
    9)     We calculate the greenhouse gas emission reduction and corresponding climate cost
           reduction due to transitioning from BAU to WWS.
    10)    We use a weather prediction model to predict the time-dependent wind and solar fields
           in 2050 in each of the 48 contiguous U.S. states under the 100% WWS case in each
           state.
    11)    We project time-dependent power demand to 2050 from contemporary data.
    12)    We simulate the time dependent matching of power demand with WWS supply over
           the U.S. every 30 seconds for 6 years, with zero loss of load, accounting for low-cost
           heat storage (in water and rocks), cold storage (in water and ice), electricity storage (in
           concentrated solar power with storage, pumped hydroelectric storage, batteries, and
           hydroelectric power), demand response, and long-distance transmission.
    13)    We calculate the resulting cost of energy matching supply with demand.

The research concludes that converting from fossil fuel combustion to a completely electrified
system for all purposes could reduce U.S.-averaged end-use power demand (load) ~39.3%.
Approximately 82.4% of the reduced electricity use results from the higher work output to
energy input of electricity over fossil fuels and the elimination of energy needed to mine,
transport, and refine fossil fuels and uranium. The rest of the reduced electricity use is due to
end-use energy efficiency and conservation improvements beyond those expected in a business-
as-usual (BAU) case. The conversion to WWS should also stabilize energy prices since fuel
input costs will be zero, avoiding much of the market fluctuations in the price of oil, coal, and
gas.

Remaining all-purpose annually-averaged end-use U.S. load, based on the Jacobson et al.
(2015a) study, is proposed to be met (based on 2050 energy estimates) with ~328,000 new
onshore 5-MW wind turbines (providing 30.9% of U.S. energy for all purposes), ~156,000 off-
shore 5-MW wind turbines (19.1%), ~46,500 50-MW new utility-scale solar-PV power plants
(30.7%), ~2,270 100-MW utility-scale CSP power plants (7.3%), ~75.2 million 5-kW residential
rooftop PV systems (3.98%), ~2.75 million 100-kW commercial/government rooftop systems
(3.2%), ~208 100-MW geothermal plants (1.23%), ~36,000 0.75-MW wave devices (0.37%),




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~8,800 1-MW tidal turbines (0.14%), and no new hydroelectric plants in the 48 contiguous states
but 3 new hydroelectric plants in Alaska. The output of existing hydroelectric plants would be
increased slightly so that hydropower supplies 3.01% of U.S. all-purpose power.

The Jacobson et al. (2015b) grid integration study based on the 50-state plans suggests that an
additional ~1,360 CSP plants (providing an additional ~4.38% of annually-averaged load) and
9,380 50-MW solar-thermal collection systems for heat storage in soil (providing an additional
7.21% of annually-averaged load) would be needed as a first estimate to ensure a reliable grid.
That study also assumed an increase in the peak hydropower discharge rate while holding the
annual-average hydropower output constant. It also assumed a significant amount of
underground thermal energy storage. This was just one possible mix of energy generators and
storage. While that study faced criticism from authors, the criticisms were not only responded to
point-by-point (Jacobson et al., 2016; 2017b) but the most significant ones were also shown to be
moot in a follow-up peer-reviewed published study (Jacobson et al., 2018).

The subsequent study (Jacobson et al., 2018) performed a similar calculation as in Jacobson et al.
(2015b) but with more storage options, including two with zero added hydropower turbines and
one with zero underground or other thermal energy storage. More specifically, the additional
simulations included (1) zero increase in the hydropower discharge rate but increasing the
discharge rate of concentrated solar power (CSP) and adding battery storage while keeping
thermal energy storage; and (2) zero increase in the hydropower discharge rate and zero thermal
energy storage but using CSP with storage, batteries, and heat pumps instead.

Simulations for Jacobson et al. (2018) were performed for 20 world regions, including the United
States plus Canada, island countries, medium-sized countries, and large countries and continents,
rather than just one world region in Jacobson et al. (2015b). All simulations for all world regions
resulted in stable grids at low cost over a 5-year simulation period, including with no added
hydropower turbines and, in one case, with no thermal energy storage at all. These results for
extreme conditions suggest there are multiple intermediate solutions with a variety of
combinations of WWS storage technologies and resources. All methods resulted in low-cost
solutions and 100% WWS by 2050. The fact that the system works with either increased
hydropower discharge or increased CSP and batteries or CSP, batteries, and heat pumps is
illustrative of the feasibility of transitioning the nation’s energy system to 100% WWS. There is
not just one way of achieving the transition, but many pathways. In fact, even critics of our
methodology do not disagree with the conclusions we reach.1

Practical implementation considerations will determine the actual design and operation of the
U.S. energy system and may result in technology mixes different than proposed here (e.g., more
rooftop PV, less power plant PV).

Other studies in the U.S. and abroad provide parallel support for the ability to swiftly move away
from fossil fuels. These studies are briefly summarized in Exhibit D. While I do not endorse


1 June 20, 2017 Daniel Kammen Twitter: “A significant misunderstanding here: yes the 100%
target is needed AND is feasible, but one must do the analytics correctly to be useful.”




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each of these studies and not all of the studies consider all energy sectors or 100% clean energy
by 2050 as we do, collectively they illustrate the vast potential and feasibility of swift
decarbonization and transition to clean, renewable energy. Specifically, several of these
published studies conclude that 100% renewable energy for all sectors by 2050 for France, the
European Union, and globally is feasible.

The timeline for conversion under either modeled scenario is proposed as follows: 80% of all
energy to be WWS by 2030 and 100% by 2050 (Figure 1). If this timeline is followed,
implementation of these plans and similar ones for other countries worldwide provides the
pathway to eliminate energy-related global warming; air, soil, and water pollution; and energy
insecurity. Transitioning at this pace should avoid global temperatures from rising more than
1.5oC as a peak temperature increase since 1870 and reduce CO2 back to 350 ppm by 2100
(Section 2). Transitioning to 100% WWS by 2050 also provides the best opportunity for the
federal government to further reduce global surface and ocean temperatures to levels that will
over the long term stabilize the planet’s ice sheets.


     Figure 1. Time-dependent change in U.S. end-use power demand for all purposes (electricity,
     transportation, heating/cooling, and industry) and its supply by conventional fuels and WWS generators
     based on the state roadmaps proposed. Total power demand decreases upon conversion to WWS due to
     the higher work output per unit energy input of electricity over combustion, the elimination of energy
     used to mine, transport, and refine fossil fuels, and additional end-use energy efficiency measures in the
     WWS case. The percentages on the horizontal date axis are the percent conversion to WWS that has
     occurred by that year. The percentages next to each WWS source are the final estimated penetration of
     the source. The 100% demarcation in 2050 indicates that 100% of all-purpose power is provided by
     WWS technologies by 2050, and the power demand by that time has decreased. In 2010 nuclear power
     represented ~4% of the total end-use fossil plus nuclear power (from Jacobson et al., 2015a).




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The additional footprint on land for WWS devices is equivalent to about 0.42% of the U.S. land
area, mostly for utility scale PV. An additional on-land spacing area of about 1.6% is required
for onshore wind, but this area can be used for multiple purposes, such as open space,
agricultural land, or grazing land. The land footprint and spacing areas (open space between
devices) in the proposed scenario can be reduced by shifting more land based WWS generators
to the ocean, lakes, and rooftops.

As described previously, 0.42% of U.S. land is equivalent to ~14,800 square miles. For
comparison, an upper bound of ~75,000 square miles of land (2.1% of U.S. land area) may have
been used to date for roads, well pads, and storage facilities for the 4.2 active plus inactive oil
and gas wells in the United States (Fracktracker Alliance, 2015). Additional land is required for
coal and oil extraction, oil and gas pipelines, oil refineries, gas stations, power plants, and other
oil, gas, and coal infrastructure (see Figure 2). Thus, the roadmaps here will take much less
footprint than oil and gas alone in the United States.


     Figure 2. Oil and Gas Wells in the United States (Meko and Karklis, Wash. Post, 2017).




Offshore oil and gas infrastructure is similarly extensive for the Gulf of Mexico, as depicted in
Figure 3.




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     Figure 3. Gulf Coast Oil and Gas Infrastructure (Meko and Karklis, Wash. Post, 2017).




The 2017 unsubsidized business costs of new onshore wind and utility-scale solar plants is
already less than that of new natural gas power plants (Lazard, 2017). Rooftop PV, offshore
wind, tidal, and wave are more expensive, but their costs are declining rapidly. By 2030 and




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2050, however, the business costs of all WWS technologies are expected to drop, whereas
conventional fuel costs are expected to rise (Jacobson et al., 2015a and references therein).

In 2050, the direct (business) cost of a full 100% WWS grid-integrated system (including
generation, transmission, distribution, and storage) is calculated to be similar or less than that of
a fossil fuel system (Jacobson et al., 2015b; 2018). The total social cost (business cost plus health
and climate cost) of a 100% WWS system will be about one-third to one-fourth that of a fossil-
fuel system due to the high climate and health costs of fossil fuels (Jacobson et al., 2015b; 2018).

The 50-state WWS roadmaps are anticipated to create ~3.9 million 40-year construction jobs and
~2.0 million 40-year operation jobs for the energy facilities alone, outweighing the ~3.9 million
jobs lost to give a net gain of 2.0 million 40-year jobs. Earnings during the 40-year construction
period for these facilities (in the form of wages, local revenue, and local supply-chain impacts)
are estimated to be ~$223 billion per year in 2013 dollars and annual earnings during operation
of the WWS facilities are estimated at ~$132 billion per year. Net earnings from construction
plus operation minus lost earnings from lost jobs are estimated at ~$85 billion per year.

The state roadmaps will reduce U.S. air pollution mortality by ~62,000 (19,000-115,000) U.S. air
pollution premature mortalities per year today and ~46,000 (12,000-104,000) per year in 2050,
avoiding ~$600 (85-2,400) billion per year (2013 dollars) in 2050, equivalent to ~3.6% (0.5-
14.3) of the 2014 U.S. gross domestic product.

Converting to WWS would further eliminate ~$3.3 (1.9-7.1) trillion per year in 2050 global
warming costs to the world due to U.S. greenhouse gas emissions. These plans will result in the
average person in the U.S. in 2050 saving ~$260 (190-320) per year in energy costs (2013
dollars), $1,500 (210-6,000) per year in health costs, and $8,300 (4,700-17,600) per year in
climate costs for a total annual per capita savings of $10,060 (5,100-23,920).

Uncertainties remain in terms of the range of energy, health, and climate costs we estimate in our
analysis. These ranges may miss costs impacted by unforeseen political/social events. As such,
the estimates should be reviewed periodically. However, even recognizing such uncertainties, I
conclude to a strong degree of scientific certainty that transitioning to 100% WWS is in the
economic best interest of the United States.

Transitioning to 100% WWS will allow the United States to produce as much power as it uses in
the annual average at present, thereby reducing its reliance on international competition for
energy, potentially reducing international conflict and increasing energy stability within the
United States. In addition, the economic benefits of transitioning to 100% WWS would flow
toward the citizens of the United States, as we would not be required to purchase fossil fuels
from other countries.

Transitioning to 100% WWS will increase access to distributed energy, providing easier and
more access to energy for those living in remote areas.




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Transitioning to 100% WWS will reduce the risk of large-scale system disruption due to large
power plant outages and physical terrorism (but not necessarily due to cyberattack) because
much of the world power supply will be decentralized into more, smaller power sources.

Based on the scientific results presented, current barriers to implementing the WWS roadmaps
are neither technical nor economic. They are social and political. Such barriers are due partly to
the fact that most people are unaware of what changes are possible, what technology is available,
and how they will benefit from a transition to WWS in their own lives and partly due to the fact
that many with a financial interest in the current energy industry resist change. Because the
benefits of converting (reduced global warming and air pollution, new jobs and stable energy
prices) far exceed the costs, converting has little downside.

2.     What is Needed to Decrease Atmospheric CO2 to 350 ppm by 2100

Transitioning 80% of the United States and the world’s energy and land-use change emissions to
WWS by 2030 and 100% by 2050 is consistent with a trajectory to allow atmospheric CO2 levels
to decrease to near 350 ppm by 2100.

Matthews (2016) estimates the global emission limits to keeping temperature increases under
1.5oC with probabilities of 67% and 50% as 2400 Gt-CO2 and 2625 Gt-CO2, respectively.

Between 1870 and the end of 2015, a cumulative ~2050 Gt-CO2 was emitted globally from
fossil-fuel combustion, cement manufacturing, and land use change. (Mathews, 2016). This
suggests no more than 350-575 Gt-CO2 can be emitted for a 67-50% probability of keeping post-
1870 warming under 1.5oC. Given the current and projected global emission rate of CO2, it is
necessary to cut energy- and land-use change emissions yearly until emission cuts reach 80% by
2030 and 100% by 2050 to limit warming to 1.5oC with a probability of between 50% and 67%.

Figure 4 illustrates the possible impact on global atmospheric carbon dioxide levels of an 80%
conversion to WWS by 2030 and 100% conversion by 2050 as well as possible impacts from less
aggressive emission reductions. The 100% by 2050 scenario can reduce CO2 to near 350 ppm by
2100, a level last measured in the atmosphere around 1988. All IPCC (2000) emission scenarios
result in CO2 levels in 2100, ranging from 460 to 800 ppm. Such scenarios are certain to drive
temperatures dangerously higher. A WWS scenario for the United States is essential for
stabilizing and ultimately reducing temperatures over the long-term.




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     Figure 4. Comparison of historic (1751-2014) observed CO2 mixing ratios (ppmv) from the Siple ice
     core (Neftel et al., 1994) and the Mauna Loa Observatory (Tans and Keeling, 2015) with GATOR-
     GCMOM model results (Jacobson, 2005) for the same period plus model projections from 2015-2100 for
     five Intergovernmental Panel on Climate Change (IPCC) scenarios (IPCC, 2000) and three WWS cases:
     an unobtainable 100% WWS by 2015 case, an 80% WWS by 2030 and 100% by 2050 case (from Figure
     1 above), and a less-aggressive 80% by 2050 and 100% by 2100 case.
                               800                                                               800

                               750                                                               750
                                            Data
                                            Model-100% WWS by 2015 (no FF emissions)
                               700          Model-80% WWS by 2030; 100% by 2050                  700
                                            Model-80% WWS by 2050; 100% by 2100
                               650          Model-IPCC A1B                                       650
                                            Model-IPCC A2
                                            Model-IPCC B1
                               600                                                               600
                                            Model-IPCC-B2
                                            Model-IPCC A1F1
                  CO2 (ppmv)




                               550                                                               550

                               500                                                               500

                               450                                                               450

                               400                                                               400

                               350                                                               350

                               300                                                               300

                               250                                                                250
                                  1750   1800    1850      1900       1950    2000     2050   2100
                                                                  Year




The model is set up as in Jacobson (2005) with two columns (one atmospheric box over 38 ocean
layers plus one atmospheric box over land). It treats full ocean chemistry in all layers, vertical
ocean diffusion with canonical diffusion coefficients, ocean removal of calcium carbonate for
rock formation, gas-ocean transfer, and emissions from fossil fuels. It also accounts for
photosynthesis, plant and soil respiration, and removal of carbon dioxide from the air by
weathering. Fossil-fuel emissions from 1751-1958 are from Boden et al. (2011), from 1959-2014
are from Le Quere et al. (2015), and for 2015 onward from the WWS scenarios scaled from 2014
emission and from the individual IPCC scenarios. Land use change emissions per year are 300
Tg-C/yr for 1751-1849, from Houghton (2012) for 1850-1958, from Le Quere et al. (2015) for
1959-2014, from the IPCC (2000) A1B scenario for the WWS cases for 2015-2100, and from the
individual IPCC scenarios for the remaining cases. The net carbon sink over land from 1751-
2100 is calculated from the time-dependent photosynthesis, respiration, and weathering
processes mentioned.

3.     List of Technology Replacements and Timelines for Their Implementation

Below is a list of electric appliances, transportation options, and WWS power generators that are
needed to transition to 100% WWS. Most of these technologies are available today, and the rest
(e.g., for aircraft and ships in particular) are currently being designed to transform the energy
infrastructure of the United States. The list is not a complete list, but demonstrates that 95% of
the technological solutions for a complete transition to WWS by 2050 already exist. Future



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innovations over the next 30 years and beyond will very likely provide even more technological
mechanisms to facilitate the remaining transition to 100% WWS for all purposes by 2050.

   A. Technology Replacements

       i.   Increase Energy Efficiency / Reduce Energy Demand

             a. Increase efficiency in buildings through:
                  Lighting:
                        • LED lighting
                        • Advanced lighting controls
                  Appliances:
                        • High efficiency pumps and motors
                        • High efficiency commercial appliances (refrigerators, washers,
                            dryers)
                        • Energy efficient residential appliances (refrigerators, water heaters,
                            etc.)
                        • Variable refrigerant flow
                  Heating and cooling efficiency in buildings through:
                        • Programmable thermostats
                        • Improved wall, floor, ceiling, and pipe insulation
                        • High-efficiency double- and triple-pane windows
                        • Energy efficient framing practices
                        • Passive solar design
                        • Sealing doors, windows, walls, outlets, and fireplaces to reduce
                            heat / cold loss
                        • Evaporative cooling systems
                        • Ductless heat pumps for heating and air conditioning
                        • Water-cooled heat exchanging
                        • Night ventilation cooling
                        • Passive ventilation design
                        • Combined space and water heating
                        • Air flow management
                        • Heat recovery ventilation systems
                        • Building energy monitors to identify opportunities to reduce
                            wasted energy
                  Water efficiency:
                        • High efficiency residential and commercial water fixtures
                        • High efficiency irrigation systems
                        • Greywater re-use systems

             b. Reduced transportation demand through:
                 • Telecommuting rather than commute by car
                 • Improved biking infrastructure
                 • Improved pedestrian infrastructure



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            •   Improved public transportation
            •   Transportation Demand Management programs that support adoption of
                low-carbon transportation practices
            •   Improved carpooling and ride-sharing programs and technologies
            •   Urban land use practices to reduce transportation demand (i.e. mixed use
                development, increased residential densities)

       c. Improved vehicle efficiency through:
           • Low rolling resistance tires
           • Lightweight materials (i.e. carbon fiber, aluminum, fiberglass)
           • Regenerative braking systems
           • High efficiency settings or dashboard fuel efficiency displays

 ii.   WWS Electric Power Generators
       • Onshore/offshore wind turbines
       • Solar photovoltaics (PV) for rooftops and power plants
       • Concentrated Solar Power (CSP) plants
       • Geothermal power plants for electricity
       • Tidal turbines
       • Wave devices
       • Existing large hydroelectric reservoirs used more efficiently
       • Small hydroelectric reservoirs
       • In-stream hydroelectric turbines

iii.   Low-Temperature Heat Generators
        • Geothermal heat pumps
        • Natural geothermal heating
        • Solar thermal collection devices for heat

iv.    Electricity Storage
        • CSP with storage (either molten salt or phase-change material)
        • Pumped hydroelectric storage
        • Hydroelectric power plant reservoirs
        • Batteries

 v.    Heat Storage Devices
       • Hot water tanks
       • Rocks stored underground
       • Thermal walls

vi.    Cold Storage Devices
        • Chilled water tanks
        • Ice storage




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vii.    Hydrogen Storage Devices
        • Electrolyzers to produce hydrogen from electricity
        • Electric compressors to compress hydrogen
        • Tanks to store hydrogen for transportation primarily

viii.   Demand Response
         • Technology to enable remote start up and shut down of appliances and
           equipment that have flexible demand (i.e. water heaters, HVAC equipment,
           electric vehicles)
         • Utilities provide incentives for industry, companies, and individuals to shift
           their electricity use for certain uses and processes to non-peak times of day or
           night – Time of Use electricity pricing

 ix.    Electric Vehicles
         • Light-, medium-, and heavy-duty on-road automobiles
         • Short-distance trucks, buses trains, ships, aircraft
         • Motorcycles
         • Non-road vehicles
         • Construction equipment
         • Agricultural equipment
         • Forklifts

  x.    Hydrogen Fuel Cell/Electric Hybrid Vehicles
        • Long-distance trucks
        • Buses
        • Long-distance trains
        • Long-distance ships
        • Long-distance aircraft
        • Construction equipment
        • Agricultural equipment

 xi.    Electric Car Charging Infrastructure
         • Home car chargers
         • Chargers installed in parking garages and on streets

xii.    High-Temperature Industrial Equipment
        • Electric arc furnaces
        • Dielectric heaters
        • Electric induction furnaces

xiii.   Electric Appliances to Replace Gas or Gasoline
         • Heat pump air and water heaters
         • Electric induction cooktop stoves
         • Electric dryers
         • Electric leaf blowers



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              •   Electric lawnmowers
              •   Electric water sprayers
              •   Electric fans

     xiv.    Long-Distance Transmission
              • High-voltage direct-current (HVDC) lines

Whereas, much new WWS infrastructure can be installed upon natural retirement of BAU
infrastructure, new policies are needed to force remaining existing infrastructure to retire early to
allow the complete conversion to WWS by 2050. Because the air-pollution and climate-impact
benefits (avoided costs) (28.5 (11.2-72) ¢/kWh-BAU-all-energy) resulting from closing BAU
plants early far exceed the annualized remaining net asset value of such plants (the difference
between the annualized capital cost and the annualized salvage or re-use value) divided by
annual energy produced, and because net jobs increase upon replacing BAU plants, retiring them
early results in large net health, employment, and climate benefits to society.

   B. Timelines for Transitioning Individual Sectors

The overall timeline proposed for transitioning to 100% WWS is 80% by 2030 and 100% by
2050. To meet this timeline, rapid transitions are needed in each technology sector. Below is a
list of proposed transformation timelines for individual sectors.

       Development of super grids and smart grids: as soon as possible, the United States
       should develop long-term power-transmission-and-distribution systems to provide
       “smart” management of energy demand and supply at all scales, from local to
       international, with a 100% WWS system. This allows supply and demand to be
       optimized.

       Power plants: by 2020 at the latest, no more construction of new coal, nuclear, natural
       gas, or biomass fired power plants; all new power plants built should be WWS.

       Storage: starting immediately, heat, cold, and electric storage technologies should be
       deployed. Heat storage technologies include underground storage in rocks, storage in hot
       water tanks, and storage in thermal mass (e.g., wax, cement blocks). Cold storage
       includes primarily storage in ice and water. Electric storage includes storage in
       concentrated solar power, pumped hydroelectric power, batteries, and in existing
       hydroelectric reservoirs. Other types of storage are also possible.

       Heating, drying, and cooking in the residential and commercial sectors: by 2020, all
       new devices, appliances, and machines should be electric.

       Industrial heat: by 2023, all new high-temperature heating equipment for industrial
       applications should be electric.




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       Large-scale waterborne freight transport: by 2020-2025, all new ships should be
       electrified and/or use electrolytic hydrogen, all new port operations should be electrified,
       and port retro-electrification should be well underway.

       Rail and bus transport: by 2025, all new trains and buses should be electrified. This
       requires changing the supporting energy-delivery infrastructure and the manufacture
       method of transportation equipment.

       Off-road transport, small-scale marine: by 2025 to 2030, all new production should be
       electrified.

       Long-distance heavy-duty truck transport: by 2025 to 2030, all new heavy-duty trucks
       and buses should be electric or hydrogen fuel cell-electric hybrids.

       Light-duty on-road transport: by 2025-2030, all new light-duty on-road vehicles should
       be electric.

       Short-haul aircraft: by 2035, all new small, short-range aircraft should be electric.

       Long-haul aircraft: by 2040, all remaining new aircraft should be hydrogen fuel cell-
       electric hybrids.

During the transition, conventional fuels and existing WWS technologies are needed to produce
the remaining WWS infrastructure. However, much of the conventional energy would be used in
any case to produce conventional power plants and automobiles if the plans proposed here were
not implemented. Further, as the fraction of WWS energy increases, conventional energy
generation will decrease, ultimately to zero, at which point all new WWS devices will be
produced with existing WWS. In sum, the creation of WWS infrastructure may result in a
temporary increase in emissions before they are ultimately reduced to zero.

4.     Recommended First Steps and Potential Policies

Whereas, much new WWS infrastructure can be installed upon natural retirement of BAU
infrastructure, new policies are needed to encourage remaining existing infrastructure to retire
early to allow the complete conversion to WWS. Because the annual air-pollution and climate-
impact benefits (avoided costs), as quantified here, resulting from closing BAU plants early far
exceed the annualized remaining net asset value of such plants (the difference between the
annualized capital cost and the annualized salvage or re-use value), and because net jobs increase
upon replacing BAU plants, retiring them early results in large net benefits to society.

5.     Why Nuclear, Biofuels, and Coal with Carbon Capture are Not Included

While some people have suggested that energy options aside from WWS, such as nuclear power,
coal with carbon capture and sequestration (coal-CCS), and biofuels, can play a role in solving
these problems, all four technologies, while better in several respects than fossil fuel
technologies, have some disadvantages relative to fossil fuel technologies and significant




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disadvantages relative to WWS technologies. These advantages/disadvantages are listed below
and then explained in more detail below that.

With respect to some of the disadvantages, it is important to note that because we must reduce
emissions 80% by 2030 (thus only 12 years from 2018), we do not recommend power plant
technologies that cannot be installed within the next few years.

Nuclear power
       Advantages
          • Low carbon and air pollution relative to fossil fuels.
          • Requires only modest land use.

       Disadvantages
          • Requires 10-19 years between planning and operation versus 2-5 years for
             wind/solar.
          • Expensive; cannot be built without significant financial support and insurance
             guarantee from government.
          • Carries weapons proliferation risk.
          • Carries meltdown risk (1.5% of all reactors built to date have melted down).
          • Nuclear waste disposal issue (where to put the waste).
          • Significant water is required for cooling with current and future technology.
          • Nuclear material mining risks.
          • Nuclear material transportation risks.
          • 6-23 times the carbon emissions of wind power per unit energy generated.
          • Not a renewable resource.
          • Potential terrorism target.

Coal with carbon capture
       Advantages
           • Less carbon dioxide emissions than coal without carbon capture.
           • Keeps coal miners employed in mining.

       Disadvantages
          • Requires 25% more energy than regular coal → 25% more air pollution emissions
             than regular coal because carbon capture equipment reduces only carbon dioxide.
          • Still produces 50-60 times more CO2 per unit energy than wind because it doesn’t
             reduce CO2 from mining or transporting coal, which is one-third of the emissions
             associated with coal power generation.
          • Still results in land/habitat destruction due to coal mining.
          • Still results in black lung disease to coal miners.
          • Much more expensive than wind or solar power.
          • Requires a minimum of 6-9 years between planning and operation versus 2-5
             years for wind/solar.
          • Coal-CCS can only be placed near specific geological formations.
          • Long-term geologic storage of CO2 is unproven.



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           •   CO2 stored underground has potential to leak.
           •   Not a renewable resource.

Biofuels
       Advantages
          • Carbon produced from burning a biofuel can be recaptured during regrowth of the
             biofuel.
          • Biofuel combustion emits less of some chemicals than gasoline or diesel
             combustion.
          • Biofuels can sometimes be substituted directly for fossil fuels in some
             automobiles, for example.

       Disadvantages
          • Biofuels require a significant amount of energy to produce, and a lot of that
             energy can be from fossil fuel combustion.
          • Biofuel combustion emits more of some chemicals than gasoline or diesel
             combustion.
          • Overall ozone production and mortality from burning ethanol as a fuel exceeds
             that from burning gasoline in the United States.
          • The land required for growing biocrops is enormous.
          • Solar PV produces 20 times more electricity than a biocrop produces energy over
             the same amount of land.
          • Using land for food instead of fuel raises the price of food and spurs deforestation
             in parts of the world to create more land for biocrops.

With respect to the cost of nuclear and coal-CCS, the Intergovernmental Panel on Climate
Change (IPCC) (2014) states (Section 7.8.2), “Without support from governments, investments in
new nuclear power plants are currently generally not economically attractive within liberalized
markets,…”

Similarly, Freed et al. (2017), who are strong nuclear advocates, state, “…there is virtually no
history of nuclear construction under the economic and institutional circumstances that prevail
throughout much of Europe and the United States.”

Further, Cooper (2016), who compared WWS with nuclear and CCS scenarios, concluded,
“Neither fossil fuels with CCS or nuclear power enters the least-cost, low-carbon portfolio.”

IPCC (2014) further states that, with high penetrations of renewable energy (RE), nuclear and
CCS are not efficient (Section 7.6.1.1), “…high shares of variable RE power…may not be ideally
complemented by nuclear, CCS,...”

With respect to the other disadvantages of nuclear, IPCC (2014, p. 517) concludes that there is
“robust evidence” and “high agreement” that “Barriers to and risks associated with an
increasing use of nuclear energy include operational risks and the associated safety concerns,
uranium mining risks, financial and regulatory risks, unresolved waste management issues,
nuclear weapons proliferation concerns, and adverse public opinion.” As such, expanding the



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use of nuclear to countries where it doesn’t exist may increase weapons proliferation and
meltdown risks. Wind, water, and solar power have none of these risks. More advanced nuclear
cannot be evaluated until it is commercialized, but it does not exist today.

With respect to the time lag between planning and operation of nuclear versus wind/solar, the air
pollution emissions of nuclear versus coal-CCS versus biofuels versus wind/solar, please see
Jacobson (2007, 2009).

6.     Historical WWS Technological Feasibility

The United States could have begun the WWS transition by at least the late 1970s and early
1980s. In my expert opinion, had government promoted a climate-safe national energy policy at
that time, the proportion of our nation’s energy system powered by WWS would today be much
greater than it is currently in my estimation. For example, the graph in Figure 5 below shows
several historical examples of the U.S. government making recommendations, roadmaps, or
plans since the early 1980s to decarbonize the national energy system, none of which was
implemented. Notwithstanding their knowledge of climate change, and the alternative energy
systems available to the country, the Federal Defendants chose to continue a fossil fuel energy
system, which still supplies the majority of our energy today across all sectors. The red line
shows actual and projected business as usual US emissions by the EIA under the Trump
administration, which diverge substantially from the other recommended energy emission
pathways.


     Figure 5. Known CO2 reduction pathways proposed by the Federal Government that were never
     implemented. ((1) EIA Reference Case, 2017 (2) EPA, 1983, (3) EPA, 1990, (4) OTA 1991, (5) Kyoto
     Protocol, 1997, (6) U.S. White House, 2016, (7) EIA Reference Case: with Clean Power Plan, 2017)




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Other Examples:

•   California developed the first three major wind farms worldwide in the late 1970s and early
    1980s. These were Altamont Pass, Tehachapi, and San Gorgonio Pass. However, U.S.
    national policy shifted, and further growth of wind was slowed substantially for 1-2 decades.
    During that period, the center of wind farm development and manufacturing moved to
    Europe.

•   Similarly, burgeoning U.S. policy in the 1970s encouraged solar energy expansion, but
    dominant U.S. policies that favored traditional fossil fuels squeezed out solar growth in the
    1980s and 1990s. Only in the last decade has solar begun to grow substantially. In a
    December 5, 1978 Department of Energy Domestic Policy Review of Solar Energy Report to
    the White House, Defendant DOE projected that technical capacity for solar penetration by
    the year 2000 was 26-31% of national energy supply (Schlesinger 1978). The same report
    also confirmed the inefficiency of the energy system where 56% of annual energy use was
    consumed in conversion, transmission and end-use losses, not in actual energy use. The
    report confirms that widespread use of solar energy, which was technically available even in
    the 1970s was “hindered by Federal and state policies and market imperfections that
    effectively subsidize competing energy sources.” The lack of federal R&D and other support,
    which was largely given to fossil fuels, limited the “long-term contribution of solar energy to
    the nation’s energy supply.” (Schlesinger 1978).

•   Electric cars have been around for over 180 years (since 1837). The first U.S. electric car was
    built in 1890. By 1900, 34,000 cars, or 38% of the U.S. fleet was electric. However, their
    popularity declined in the 1910s due to greater range of fossil fuel cars. Electric cars only
    began to re-emerge in the U.S. in the 1990s following a push by the California Air Resources
    Board to reduce emissions. But, pressure by the oil industry combined with U.S. policy that
    supported the internal combustion engine and fossil fuels, not electric vehicles, caused
    manufacturers to stop producing and even destroying electric cars. After the development of
    the Toyota Prius, Tesla began working on an electric car in 2004, successfully producing a
    long-distance Roadster in 2008. In my expert opinion, if government had given support to
    electric cars during any decade prior to the mid- to- late 2000s, I believe, the percent of the
    U.S. automobile market that is electric would be significantly higher than today.

•   It is my expert opinion that if the policies of the United States had encouraged more subsidies
    and R&D for renewable energy, efficiency, electric appliances, and electric cars rather than
    subsidies and other support for fossil fuels, our country would be a lot further toward a
    renewable-powered energy system today than it is, the amount of carbon dioxide pollution
    emitted would be substantially less, and the harms from climate change would not be as
    severe as they are today and are projected to be in the near and long-term.




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                        CONCLUSION AND RECOMMENDATION

In sum, I conclude that electrification and use of direct heat in all energy sectors in the United
States, and providing the electricity and direct heat with 100% wind, water, and sunlight (WWS)
by 2050, with 80% by 2030, is technologically and economically feasible. Use of WWS
technologies may be the only way to solve the climate, air pollution, and energy security problems
in a timely manner. They also involve the least risk of collateral damage and serve multiple public
interests, including creating more full-time, long-term jobs than lost, reducing reliance on the
international search for energy, providing energy security, and reducing substantial air pollution
health and climate problems. Given that 4-7 million people currently die premature each year
worldwide due to fossil fuel pollution, including 62,000 (19,000-115,000) in the United States, and
climate is changing rapidly due to the increase in human-emitted gases and particles into the
atmosphere, the rapid deployment of a 100% WWS solution is important and practical for solving
these problems simultaneously. The bottom line is that it is technically and economically feasible
to transition off of fossil fuels by 2050 and supply our energy needs with 100% WWS. The primary
barrier is the lack of government direction to move energy policy in the WWS direction and
government policies and actions that continue to favor a fossil-fuel based energy system.

In my expert opinion, if the U.S. defendants in this case are ordered to plan for, and implement, a
100% WWS transition by 2050, it is feasible to develop such a plan and almost all the technology
is available to carry out the plan quickly in a cost-effective manner.

       Signed this 6th day of April, 2018 in Palo Alto, California.




                                             Mark Jacobson, Ph.D.




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                                                EXHIBIT A: CV

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Professional Preparation
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Stanford University, Stanford, CA; Economics B.A., with distinction, 1988
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Professional Appointments
Stanford University Atmosphere/Energy Program Director/co-founder, 2004-present
Stanford University Energy Resources Engineering Professor by Courtesy, 2007-2010
Stanford University Civil & Environmental Engineering Professor, 2007-present
Stanford University Civil & Environmental Engineering Associate Professor, 2001-2007
Stanford University Civil & Environmental Engineering Assistant Professor, 1994 2001

Mark Z. Jacobson’s career has focused on better understanding air pollution and global warming problems and
developing large-scale clean, renewable energy solutions to them. Toward that end, he has developed and applied
three-dimensional atmosphere-biosphere-ocean computer models and solvers to simulate air pollution, weather,
climate, and renewable energy. He has also developed roadmaps to transition states and countries to 100% clean,
renewable energy for all purposes and computer models to examine grid stability in the presence of high
penetrations of renewable energy.

To date, he has published two textbooks of two editions each and 152 peer-reviewed journal articles. He has testified
four times for the U.S. Congress. Nearly a thousand researchers have used computer models he has developed. In
2005, he received the American Meteorological Society Henry G. Houghton Award for “significant contributions to
modeling aerosol chemistry and to understanding the role of soot and other carbon particles on climate.” In 2013, he
received an American Geophysical Union Ascent Award for “his dominating role in the development of models to
identify the role of black carbon in climate change” and the Global Green Policy Design Award for the “design of
analysis and policy framework to envision a future powered by renewable energy.” In 2016, he received a Cozzarelli
Prize from the Proceedings of the National Academy of Sciences for “outstanding scientific excellence and
originality” in his paper on a solution to the U.S. grid reliability problem with 100% penetration of wind, water, and
solar power for all purposes. He has also served on the Energy Efficiency and Renewables advisory committee to
the U.S. Secretary of Energy and was invited to talk about his world and U.S. clean-energy plans on the Late Show
with David Letterman.

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                           EXHIBIT C: PREVIOUS TESTIMONY


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July 12, 2005. Written testimony on a comparison of wind with nuclear energy to the U.S. House
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Invited Court Briefs
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  James C. Zachos in support of respondents, Chamber of Commerce of the United States of
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Brief for Respondents United States Environmental Protection Agency, et al., in Chamber of
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    Agency, et al., in the United States Court of Appeals for the District of Columbia Circuit, No.
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    Chameides, Arlene Fiore, Tracey Holloway, Mark Jacobson, Paul Miller, and Mehmet
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    Lung Association et al. v. EME Homer City Generation L.P., et al. (No. 12-1182, -1183) in
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Brief of amici curiae in support of respondents and cross-appellants; Proposed brief of amici
    curiae climate scientists Dennis D. Baldocchi, Ph.D., Robert A. Eagle, Ph.D., Marc Fischer,
    Ph.D., John Harte, Ph.D., Mark Z. Jacobson, Ph.D., Ralph Keeling, Ph.D., James C.
    Williams, Ph.D., Terry L. Root, Ph.D., Richard C.J. Somerville, Ph.D., Aradhna K. Tripati,
    Ph.D., and Anthony L. Westerling, Ph.D., Cleveland National Forest Foundation; Sierra
    Club; Center for Biological Diversity; Creed-21; Affordable Housing Coalition of San Diego
    County; People of the State of California Respondents and Cross-Appellants, v. San Diego
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